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       Good morning,

       This is yet another prompt written communication pursuant to DUCivR 37-1. For purposes of this email I will assume, without
       waiving any of our rights to bring a motion for sanctions, that your email below constitutes an attempt to provide “updated”
        initial disclosures as required by the Court on December 9, 2024, and that you are not simply continuing a pattern of playing games
       to waste Defendants’ resources and thwart the purposes of Fed. R. Civ. P. 26.

       It appears that your “updated” initial disclosures sent (late) on December 17, 2024 are deficient for most of the same reasons as your
       earlier initial disclosures. You have not remedied any of the issues I identified in my emails dated November 18, 2024 or November
       19, 2024, except that you have provided the bare identity (without accompanying information) for two individuals. Nor have you
       indicated you wish to engage in a meet and confer.

       Your new “initial disclosures” are deficient for substantially the same reasons I explained before, including but not limited to:

       1) You have failed to provide "the name and, if known, the address and telephone number of each individual likely to have
       discoverable information—along with the subjects of that information—that the disclosing party may use to support its
       claims or defenses…” Instead, you have merely stated that Nathan and Scott Greer are witnesses, without providing any address at
       which they can be served with appropriate legal process and without providing the subject of their expected testimony or knowledge.
       This is impermissible pursuant to Fed. R. Civ. P. 26 (a)(1)(A)(i).

       2) You have continued in your earlier failure to provide "a copy—or a description by category and location—of all documents,
       electronically stored information, and tangible things that the disclosing party has in its possession, custody, or control and may use
       to support its claims or defenses.” Instead, for the third time time, you have failed to provide any documents or a list of such
       documents. You must provide this information as specifically enumerated in Rule 26.

       3) You have continued in your earlier failure to provide "materials bearing on the nature and extent of injuries suffered.” I therefore
       cannot ascertain the basis for your computation of damages. You must provide this information as specifically enumerated in Rule
       26.

       You have failed to comply with Rule 26 and any of the requirements it imposes, except perhaps for the bare computation of damages
       in your first attempt at making initial disclosures and the bare identification of two witnesses by name only in an email filed only
       after Defendants’ informed the Court that you remained out of compliance with your disclosure obligations, which email is itself
       unaccompanied by the necessary supporting materials and provides no information at all on the topics of each witnesses's
       knowledge. I therefore request, without waiving any of our rights, to meet and confer pursuant to DUCivR 37-1 (a)
       (2)(B). Such a meet and confer could take place via Zoom on 12/17/2024 at Noon, or alternatively on 12/18/2024 at Noon, or
       alternatively on 12/19/2024 at Noon. If we are unable to resolve our differences, I will file a motion pursuant to
        DUCivR 37-1 (b) to compel you to supplement your initial disclosures, or for appropriate sanctions as a result of
       failure to make proper initial disclosures in full compliance with Rule 26, including but not limited to my
       attorney’s fees (which continue to escalate) and an order seeking to exclude undisclosed testimony and evidence.
       As I have noted in previous correspondence to you, we are prejudiced with each passing day that we do not receive valid initial
       disclosures, because we cannot move forward with our full panoply of discovery in the absence of the required initial information
       from you. Moreover, you appear to have continued in your pattern of wasting time since I first notified you of these deficiencies (and
       even more time since the Court notified you of the deficiencies), and you have either have not bothered to read the relevant rule (Fed.
       R. Civ. P. 26 (a) (1)) or have persistently refused to follow it after numerous efforts to bring you into compliance. If there was ever any
       confusion on what proper Initial Disclosures look like and what sort of information they contain, you could simply have referred to
       the Initial Disclosures which Defendants provided on December 2, 2024.

       Merry Christmas,

       Matthew D. Hardin
       Hardin Law Office
       Direct Dial: 202-802-1948
       NYC Office: 212-680-4938
       Email: MatthewDHardin@protonmail.com


         On Dec 17, 2024, at 5:23 AM, Russell Greer <RussMark@gmail.com> wrote:

         I apologize for being 2 hours late with disclosing the witnesses. L

         I am making this very clear: the reason for the initial non-disclosure is because your client and his users stalk me. If you may recall, a person a
         month ago was pretending to be you and sent me unsolicited porn emails.

         However. Complying with the court’s order, the witnesses are:

         1. Nathan Greer. +1 (801) 310-2142

         2. Scott Greer . (801) 301-1290
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